      Case: 1:19-cv-00137 Document #: 34 Filed: 03/21/19 Page 1 of 3 PageID #:5277



                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 WHAM-O HOLDING, LTD. and
 INTERSPORT CORP. d/b/a WHAM-O,

          Plaintiffs,                                             Case No.: 19-cv-00137

 v.                                                               Judge Rebecca R. Pallmeyer

 THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Jeffrey T. Gilbert
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                 103                                      Deal-good
                 104                                    Dealsforyou04
                 302                                     Downey 328
                 365                                      Ly2017ly
                 262                                      Adilceazo
                 263                                       Adriatic
                 427                                       wales530
                 325                                       Hanover
                 271                                       Baphuon
                 357                                       lan43an
                 299                                       Djibouti
                 270                                     Balyanamoon
                 280                                      Bonampak
                 330                                        hawaii
                 314                                        Felton
                  94                                     Citydiscount
                 246                                      xiaochali0
                  79                                  bigdealforyou2014
                 162                                      kansasdeal
                  81                                    blackgall2014
   Case: 1:19-cv-00137 Document #: 34 Filed: 03/21/19 Page 2 of 3 PageID #:5278



             91                                 cheers2016
            203                               queensny2018
            121                                   eroute66
            238                                 watch_deal
            140                                greatorleans
            155                               jefferson1813
            142                              greatspringfield
            101                                  dallasdeal
            115                              easyshopping66
             90                                 charlton98
             84                                broadfashion
            215                                 seattle2003
            250                             yichengmall2014
            252                             yishengmall2014
            194                                phoenix1816
            195                                phoenix1900
            177                               monterey2012
            106                                 denver0806
             71                              auwoodfashion
            189                             ozpittosporum93
              1                                  aidawu-1
             16                                   salewish
            130                                futurebuy21
            187                                   okstores
            479                                Tyra Fitness
             77                                   bestbusy
            296                       dengyukejimaoyiyouxiangongsi


DATED: March 21, 2019                       Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            1033 South Blvd., Suite 200
                                            Oak Park, Illinois 60302
                                            Telephone: 708-203-4787
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-00137 Document #: 34 Filed: 03/21/19 Page 3 of 3 PageID #:5279




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 21, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
